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 8
                                UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10

11
     RANGE 2 POKE LLC; R2P ONE LLC; and           CASE NO. 8:22-cv-00949
12   R2P TWO LLC
                                                             PART 1 OF
13                    Plaintiffs,

           v.                                     (;+,%,76723/$,17,))6
14                                                COMPLAINT
15   LEMONSHARK FRANCHISING, LLC, a
     California Limited Liability Company;
16   DEMAND BRANDS GROUP LLC, a
     California Limited Liability Company; TOBI
17   MILLER, an individual; RICHARD S.
     GOTTLIEB, an individual; ALTON KLEIN,
18   an individual; JAMES KRIEGER, an
     individual; MARIA L. WINN, an individual;
19   and Does 1 through 5

20                    Defendants.

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           EXHIBIT


EX.      DATE                    DESCRIPTION              BATES NUMBER
NO.
                                                            R2P0000001-
                   Franchise Disclosure Document
 1     4/22/2019                                            R2P0000263
                   “6-18-19 Lemonshark –FDD FULL”
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